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 9
                                   UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                               SAN JOSE DIVISION
12

13                                                      Case No. 5:24-cv-06101-SVK
14     YELP INC.,                                       PLAINTIFF YELP’S OPPOSITION TO
                                  Plaintiff,            GOOGLE’S MOTION TO DISMISS THE
15                                                      AMENDED COMPLAINT
       v.
16
       GOOGLE LLC,                                      Hon. Magistrate Judge Susan van Keulen
17
                                  Defendant.            Date:    July 29, 2025
18                                                      Time:    10 a.m.
                                                        Place:   Courtroom 6, 4th Floor
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 1     I.   INTRODUCTION

 2          In its April 22, 2025, order largely denying Google’s motion to dismiss Yelp’s complaint, the
 3   Court provided Yelp with the opportunity to amend its tying claim. Yelp’s Amended Complaint details
 4   many of Google’s anticompetitive acts designed to exploit its dominant position in general search and
 5   compel users to use its own inferior local search product over those of its competitors, including Yelp.
 6   Through a sustained series of product changes and algorithm updates, Google systematically forces
 7   users to consume its own content and diverts traffic and revenue from its local search competitors,
 8   gaining market share in the local search markets. Based on the Court’s prior determinations and Yelp’s
 9   new allegations reinforcing Google’s anticompetitive conduct, Google’s renewed partial motion to
10   dismiss should be denied.
11    II.   BACKGROUND
12          On August 28, 2024, Yelp sued Google, alleging violations of Section 2 of the Sherman Act
13   and California’s Unfair Competition Law. ECF 1 (“Compl.”). Count IV of the Complaint alleged that
14   Google unlawfully ties its local search product to its general search product, using “its monopoly power
15   in general search services (i.e., the tying product) to compel users to use Google’s own local search
16   product (i.e., the tied product).” Id. ¶ 211. In support of its tying claim, Yelp alleged that Google has
17   designed its search engine results page (“SERP”) to direct users towards its own, inferior local search
18   vertical and away from competitors. Id. The Complaint alleged that Google does this both through
19   practice (its SERP design) and through its Terms of Service, which prohibit modifying any part of
20   Google’s services or software when using Google’s general search services. Id. As a result of Google’s
21   practices and Terms of Service, users are coerced into using Google’s local search product.
22          On April 22, 2025, the Court largely rejected Google’s motion to dismiss the Complaint, while
23   granting the motion as to Yelp’s tying claims, with leave to amend. ECF 47 (“Order”). The Court’s
24   decision on the tying claims was premised on two bases: 1) that Yelp had not yet pleaded enough facts
25   to demonstrate that users were coerced into using Google’s local search services, and 2) that additional
26   allegations of Google’s changed conduct since 2007 were needed to establish timeliness. Id. at 18–21,
27   26–28. Yelp filed its Amended Complaint on May 14, 2025, with additional allegations addressing
28                                                    -1-
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 1   both issues. ECF 50 (“AC”). For purposes of the Court’s disposition of Google’s instant motion (ECF

 2   53 (“MTD”)), the relevant allegations are as follows.

 3          Beginning in the mid-2000s, Google tried unsuccessfully to create its own vertical properties

 4   in-house, including a local search vertical. AC ¶ 37. In 2007, to bolster its fledgling products, Google

 5   introduced “universal search,” including OneBoxes, to put its own search verticals at the top of the

 6   SERP, typically placed above organic search results. Id. ¶ 38. For example, with respect to local search,

 7   Google’s search algorithm would detect whether a user evidenced a local intent in their search. If so,

 8   the search would trigger Google’s local search results, which Google exempted from its own organic

 9   search rankings, to populate the top of the SERP. Id. ¶ 39. Studies show that users focus on the top of

10   the SERP, or the visible area that users immediately see when they open a webpage without having to

11   scroll down or across, meaning that by pushing Yelp and other competitors far down the page, Google

12   effectively prevented users from seeing those results. Id. ¶ 32. In addition to receiving preferential

13   treatment, Google’s search verticals also feature other elements (maps, color photographs, product

14   information) that are not available to its competitors and that are designed to attract users towards

15   Google’s verticals and push them away from competitors. Id. ¶ 40.

16          Over the next 18 years, Google frequently altered its search algorithms, features, and the design

17   of its SERP to leverage its position as the gateway to the internet to force users to also consume its

18   local search product, to the detriment of competition. In 2014, for example, Google introduced its

19   “Pigeon” search algorithm update, which changed the SERP to more prominently feature and integrate

20   Google’s own local search content. Id. ¶ 129. One industry site called it “one of the greatest shakeups

21   of Google’s local and local organic results to date[,]” noting that it represented a “pivotal shift” in how

22   search rankings for local search were determined. Id. Pigeon also accelerated Google’s goal of creating

23   “zero-click searches,” or searches where users never leave Google’s SERP at all. Google accomplished

24   this by scraping information from local businesses’ websites and including it at the top of the SERP,

25   reducing traffic to competitors. Id. ¶ 130.

26          In 2015, Google’s “doorway” update intentionally deprioritized sites—like Yelp—that linked

27   to other businesses (but not Google’s own pages), resulting in Google depressing traffic to its local

28                                                      -2-
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 1   search competitors to benefit itself. Id. ¶ 131. This algorithm update led to Yelp experiencing its first-

 2   ever decline in year-over-year traffic. Id.

 3          In August 2016, Google made another significant update to its SERP, nicknamed the “Possum”

 4   update. While prior searches demonstrating local intent would return a “7-pack” of results at the top

 5   of the SERP, the Possum update replaced that with a 3-pack local listing format, enlarging the font

 6   size and prominence and adding a new drop-down category of information. Id. ¶ 132. Industry

 7   observers noted that the Possum update increased the frequency with which Google’s local results

 8   were served to users and their visibility in the SERP. Id. One study found that “[a]stoundingly, the

 9   new local listing format shows in the #1 rank position 93% of the time – a HUGE increase from

10   the 25% of time that the old 7 pack used to show in the #1 position.” Id. In other words, local search

11   providers like Yelp would now be pushed further down, and potentially out of view of users, in 93%

12   of searches. Rolled out slowly into 2017, this update more forcefully coerced users into using Google’s

13   local search product—by significantly enlarging the size, prominence, and extent of Google’s local

14   search contents—over its competitors’ superior products. As a result of the Possum update, a “massive

15   blow” to Yelp and other local search competitors, Yelp’s organic clicks dropped precipitously. Id. ¶

16   133.

17          Possum was followed by the “Hawk” update, which adjusted the filtering of local businesses

18   introduced by Possum. Id. Later in 2017, Yelp discovered that Google was scraping images from

19   Yelp’s website to populate its own local search results, including by deploying Yelp’s content on

20   Google Maps as a means of keeping users on Google’s local search product. Id. ¶ 134. Again, Google

21   attempted to perfect its tie-in further: a consumer using Google’s general search product and “receiving

22   Google’s local search product at the top of the SERP, improved by images scraped from Yelp, was

23   less likely to continue to scroll through the organic search results, further depressing clicks for any

24   non-Google content.” Id. ¶ 135.

25          In December 2021, Google introduced another significant algorithm update, coupled with a

26   SERP redesign, both focused on local search. This update moved Google’s own local search and map

27   content to the top of the SERP, in a more prominent position, and increased Google’s own local content

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 1   in size as compared to the trailing organic results. Id. ¶ 137. Now, users who evinced local intent were

 2   served a “mega-map” of Google’s own local search results, further driving down organic results and

 3   encouraging more zero-click searches. Id. Figs. 6 & 7. Here again, Google modified its tying conduct

 4   to make its local search content all the more inescapable. Since May 2024, with Google’s launch of

 5   “AI overviews” in the United States, local search users are now served AI-generated summaries at the

 6   top of the SERP, above any competitor content or any clickable content at all, further driving zero-

 7   click searches. Id. ¶ 138.1

 8           Today, Google’s anticompetitive conduct has succeeded in edging out its competition in local

 9   search services through its continuing modifications to its search algorithms and SERP, which tie its

10   own local search services to the use of general search services and force users to consume Google’s

11   local search services over any competing products. For example, one recent study found that “at least

12   58.5% of all Google searches” of any kind (i.e., not just local) result in no click at all. Id. ¶ 43. That

13   means that just 41.5% of all Google searches result in a click at all, with 28.5% of those clicks going

14   to a Google property. Id. That study only minimally included mobile searches, which are more likely

15   to result in zero-click searches. Id. n.15. When mobile searches are factored in, “zero-click searches

16   on Google are even more prevalent for searches with local search intent[.]” Id. ¶ 43 (emphasis added).

17   This is because, to start, Google generates more local searches on mobile than desktop (Id. ¶ 176) and

18   “the primacy” of the OneBox “is even more pronounced” on mobile, “where the smaller screen size

19   means that a user must scroll through several screens before even reaching organic search results.” Id.

20   ¶ 42. Thus, at the outer bound, only 29% of all Google searches in the United States result in a user

21   click to unpaid, organic search results, and that number is likely far lower for local searches. Id. ¶ 43.

22

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        Google’s conduct continues even since the filing of the Amended Complaint with its public launch
     of AI mode, which has been described as “the biggest change Google Search ever made in its history
24
     . . . bigger than the universal search change in 2007, bigger than featured snippets and even bigger than
25   AI Overviews.” Barry Schwartz, The future of SEO as the future Google Search rolls out, Search
     Engine Land (May 23, 2025), https://searchengineland.com/the-future-of-seo-as-the-future-google-
26   search-rolls-out-455954. As the article notes, both AI Mode and AI Overviews “do not send traffic
     organically to websites” like Yelp, and studies “show huge drops in click-through rates and drops in
27   traffic to websites” resulting from Google’s recent AI-focused SERP changes. Id.
28                                                    -4-
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 1          For these zero-click searches, Google furnishes its own content elevated over all vertical search

 2   competitors, without sending a click anywhere. Id. ¶ 43. Google’s ability to induce zero-click searches,

 3   in which a user never leaves Google’s SERP, is a key component of Google’s achievement of its

 4   dominant market share. Id. ¶ 84. Far from fulfilling its promise to be the gateway to the internet, Google

 5   abuses its dominant share of the general search services market to choke off traffic to its local search

 6   competitors, depriving them of the clicks (and revenues, on which they rely to continue operating) they

 7   would otherwise receive in a fair market.

 8          Amid this conduct, Google’s actions in the general search services market caught the eye of

 9   government regulators. On October 20, 2020, the U.S. Department of Justice and 11 state attorneys

10   general brought suit against Google under Section 2 of the Sherman Act for unlawfully maintaining

11   monopolies in, among other things, the markets for general search services. The government’s

12   complaint challenged Google’s anticompetitive conduct, alleging that it insulated Google from

13   competitive pressure to improve its search and search advertising offerings and harmed competition

14   and competitors. The complaint specifically called out the harm to “third-party verticals” like Yelp,

15   whose organic links Google had “demoted . . . further and further down the results page.” Id. ¶ 171.

16   On August 8, 2024, following a bench trial, Judge Amit Mehta (D.D.C.) issued findings of fact and

17   conclusions of law concluding that Google has monopoly power in the general search services market

18   and that Google had violated Section 2 of the Sherman Act by acquiring or maintaining that monopoly

19   power through exclusionary conduct with widespread anticompetitive effects. Id. ¶ 172.

20   III.   LEGAL STANDARD

21          As with Google’s initial motion to dismiss, to survive a motion to dismiss its tying claim, Yelp

22   need only allege “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

23   Twombly, 550 U.S. 544, 570 (2007). Yelp’s tying claim cannot be dismissed as time-barred unless “the

24   running of the statute is apparent on the face of the complaint” and “it appears beyond doubt that [Yelp]

25   can prove no set of facts that would establish the timeliness of the claim.” Von Saher v. Norton Simon

26   Museum of Art at Pasadena, 592 F.3d 954, 969 (9th Cir. 2010) (citations omitted). “If, from the

27   allegations of the complaint as well as any judicially noticeable materials, an asserted defense raises

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 1   disputed issues of fact, dismissal under Rule 12(b)(6) is improper.” ASARCO, LLC v. Union Pac. R.R.

 2   Co., 765 F.3d 999, 1004 (9th Cir. 2014) (citation omitted).

 3   IV.     ARGUMENT

 4           A.      Yelp’s Allegations of Unlawful Tying of Local Search Services to General Search
                     Services (Count IV) Are Timely.
 5
                  1.    Google’s Algorithm Changes and SERP Redesigns Are Overt Acts Restarting
 6                      the Clock on Yelp’s Tying Claim.

 7           As the Court recognized in its Order, the “continuing violations doctrine is ‘an exception to
 8   th[e four-year] time limit’ of the statute of limitations.” Order at 19 (quoting Samsung Elecs. Co. v.
 9   Panasonic Corp., 747 F.3d 1199, 1202 (9th Cir. 2014)). “[S]mall actions may suffice [as] ‘the typical
10   antitrust continuing violation occurs . . . when conspirators continue to meet to fine-tune their cartel
11   agreement.’” Order at 19 (quoting Samsung, 747 F.3d at 1204). Similarly, “‘acts taken to enforce a
12   [pre-existing] contract’ also qualify as ‘overt acts that restarted the statute of limitations.’” Order at 19
13   (quoting Samsung, 747 F.3d at 1204). While the Complaint broadly alleged that Google continued to
14   change its algorithm and increase triggering of OneBox results, the Court sought more to sustain Yelp’s
15   allegations of continuing violations. Order at 20 (noting “the 2015 change to Google’s algorithm” and
16   the need for additional allegations of changed conduct). The Court provided Yelp the opportunity to
17   amend in support of its tying claim.
18           Yelp has now done so. While Google is secretive about its local search algorithm changes and
19   does not discuss them publicly (AC ¶ 129), based on limited available information and without the
20   benefit of discovery, Yelp alleged significant local search-focused algorithm and SERP updates in at
21   least July 2014, March 2015, August 2016, August 2017, November 2019, December 2021, and May
22   2024. For example, the August 2016 Possum update, which was ultimately deployed in 2017,
23   fundamentally changed how often Google’s local pack of search results was triggered, from 25% of
24   the time to 93% of the time. AC ¶¶ 132–33. Similarly, the December 2021 mega-map reoriented the
25   SERP to increasingly highlight Google’s own results and push organic results further down the page.
26   Id. ¶ 137. Each of these and other alleged significant, local-search-oriented algorithm and SERP
27   changes are analogous to the 2015 algorithm change that the Court credited as “changed conduct” in
28                                                      -6-
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 1   its Order.

 2          Google now asks this Court to conclude, as a matter of fact, that these alleged algorithm

 3   changes did not increase the degree to which users were coerced to “purchase” Google’s local search

 4   results. MTD at 12–13. But that reading of the Amended Complaint ignores Yelp’s plausible

 5   allegations of coercion and fails to draw inferences in Yelp’s favor. See, e.g., AC ¶ 133 (in 2017,

 6   Possum “increased [Google’s] deployment of the local pack by orders of magnitude and kept users

 7   from scrolling down to organic search results, choking off traffic to Yelp and other local search

 8   competitors”); id. ¶ 137 (in December 2021, the “mega-map” update was “designed to avoid any

 9   additional scrolling through to organic search results”).

10          Google next argues that these changes do not actually relate to tying. MTD at 13–14. Google

11   apparently misreads Yelp’s tying claim, which is based on Google “designing its SERP so that users

12   are forced to consume Google’s local search content and results and directed more broadly towards its

13   own additional, and inferior, local search vertical content and away from its competitors . . . .” AC ¶

14   230. Allegations buttressing design changes to Google’s SERP and algorithm changes relating to local

15   intent are directly related to Yelp’s tying claim, as this Court previously noted. See Order at 19 (noting

16   that Yelp’s tying claim is premised on Google designing its SERP to direct users to Google’s local

17   search product and away from competitors); id. at 20 (concluding that allegations concerning Google’s

18   2015 “doorway” algorithm update are “sufficient” to demonstrate changed conduct with respect to

19   Yelp’s tying claim).

20          Finally, Google claims that the individual acts alleged are not, standing alone, violative of the

21   antitrust laws. MTD at 14–15. This ignores that “small actions” that fine-tune the original violation

22   and acts taken to enforce a pre-existing contract all count as “‘overt acts that restart[] the statute of

23   limitations.’” Order at 19 (quoting Samsung, 747 F.3d at 1204). Here, each algorithm change and

24   SERP redesign that modified and refined Google’s self-preferencing conduct constitutes a new, overt

25   act for continuing violations purposes. Indeed, Yelp’s amended allegations are similar in kind to the

26   allegations that the Court already found indicative of changed conduct supporting application of the

27   continuing violations doctrine. See Compl. ¶ 128 (alleging that the 2015 algorithm adjustment had “the

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 1   effect of decreasing traffic to [Google’s] local search competitors, causing Yelp to have its first ever

 2   decline in year-over-year traffic” and “helping Google obtain more market share”); Order at 20

 3   (crediting that allegation for continuing violations purposes). Taken together with Yelp’s detailed

 4   allegations about the importance of placement on the SERP, the increased prevalence of zero-click

 5   searches and the high proportion of user queries that never reach Google’s competitors, and the impact

 6   of Google’s SERP and algorithm change on competitors, Yelp has plausibly alleged how Google’s

 7   acts constituted continuing violations.

 8                2.      The DOJ’s October 2020 Complaint Tolled the Statute of Limitations for
                          Yelp’s Tying Claims.
 9

10             Beyond the continuing violations doctrine, the DOJ’s 2020 lawsuit against Google, which

11   remains ongoing in its remedies phase, tolled the statute of limitations for Yelp’s claims, including

12   tying. Section 5(i) of the Clayton Act tolls the statute of limitations during the pendency of any federal

13   government antitrust action (save for those brought under 15 U.S.C. § 15a), and for one year thereafter,

14   for every “private or State right of action arising under” the antitrust laws that is “based in whole or in

15   part on any matter complained of in said [governmental] proceeding.” 15 U.S.C. § 16(i) (emphasis

16   added).

17             The purpose of this provision is to “enable private litigants to have the benefit of the final

18   judgment in the government’s case . . . [and] also to enable the private litigants to have the benefit of

19   whatever clarification of either the facts or the law the government’s litigation may provide.” In re

20   Lower Lake Erie Iron Ore Litig., MDL 587, 1987 WL 4775, at *1 (E.D. Pa. Apr. 13, 1987) (emphasis

21   added); Hinds Cnty., Miss. v. Wachovia Bank N.A., 885 F. Supp. 2d 617, 630 (S.D.N.Y. 2012)

22   (government tolling “gives effect to the statute's purpose by allowing [plaintiffs] to benefit from the

23   Government proceedings that have preceded their amended claims”). The Supreme Court explained in

24   Zenith Radio that “permitting private litigants to await the outcome of Government suits and use the

25   benefits accruing therefrom” is consistent with the “congressional policy” underlying Section 5(i).

26   Zenith Radio Corp. v. Hazeltine Rsch., Inc., 401 U.S. 321, 336 (1971). Other cases examining the

27   congressional intent of Section 5(i) note that the provision was “enacted for the benefit of private

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 1   parties who were injured” and that “[t]his factor plus Congressional policy suggest most strongly that

 2   the tolling provision, if of doubtful meaning, should be interpreted in a way which will permit a

 3   determination on their merits of private claims in this area.” State of N.J. v. Morton Salt Co., 387 F.2d

 4   94, 97 (3d Cir. 1967). See also Hinds Cnty., 885 F. Supp. 2d at 626 (“[t]he private plaintiff is not

 5   required to allege that the same means were used to achieve the same objectives of the same

 6   conspiracies by the same defendants” as in the government action) (quoting Leh v. Gen. Petroleum

 7   Corp., 382 U.S. 54, 59 (1965)); ABA Section of Antitrust Law, Antitrust Law Developments 861 (9th

 8   ed. 2022) (“Identity of issues between the two proceedings is not required [for government tolling]”).

 9          Ignoring the weight of authority urging a broad interpretation of government tolling, Google

10   relies on Novell to advance a far narrower application. MTD at 10-11 (discussing Novell, Inc. v.

11   Microsoft Corp., 505 F.3d 302 (4th Cir. 2007)). There, the original government action accused

12   Microsoft of unlawfully maintaining a monopoly in the PC operating-system market. The plaintiff in

13   the following private action sought tolling for harm in an entirely different market, the office-

14   productivity-applications market, which did not overlap “in part” with the subject matter on the face

15   of the government’s complaint and was not alleged in the government’s complaint. Novell, 505 F.3d

16   at 321. Novell is easily distinguished, because here, a key element of Yelp’s tying claim is Google’s

17   market power in the general search services market, the exact market at issue in the DOJ litigation.

18   And Novell was decided in defendant’s favor because the office-productivity-applications market was

19   not implicated on the face of the government’s complaint, whereas here, the 2020 DOJ complaint

20   indisputably concerns the general search services market and specifically calls out the harm to “‘third-

21   party verticals’—whose organic links Google had ‘demoted . . . further and further down the results

22   page.’” AC ¶ 171 (quoting 2020 DOJ complaint).

23          Google stretches Novell to hold that complete overlap is required when the opposite is true: 15

24   U.S.C. § 16(i) asks whether there is any overlap between the two actions. Id. (requiring only that the

25   private action be “based in whole or in part on any matter complained of in said [governmental]

26   proceeding”) (emphasis added). And even Novell concedes that there “is no requirement, however, of

27   complete identity of the means, objectives, or statutory violations in the public and private lawsuits.”

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 1   Novell, 505 F.3d at 320. See also id. (plaintiffs need only demonstrate “a significant overlap of subject

 2   matter between the two actions”) (emphasis added). Indeed, allowing Yelp here to “await the outcome

 3   of Government suits and use the benefits accruing therefrom”—i.e., a finding of Google’s monopoly

 4   power in the general search services market from which Yelp’s tying claim flows—is exactly in line

 5   with the congressional policy espoused by the Supreme Court in Zenith.2
                3.     Yelp’s Amended Complaint Provides Multiple Allegations Supporting the
 6                     Timeliness of Its Tying Claim.
 7            Taken together, Yelp’s continuing violations and government tolling allegations provide the
 8   Court with multiple plausible avenues supporting the timeliness of Yelp’s tying claims. Standing alone,
 9   Yelp’s allegations concerning the 2021 “mega-map” update, which altered the SERP to increase the
10   prominence of Google’s own results and prevent scrolling to organic results from competitors like
11   Yelp, restarted the clock for statute of limitations purposes. AC ¶¶ 137 & Figs. 6–7. The same is true
12   of Google’s most recent 2024 SERP redesign to prominently feature its own AI-generated results,
13   which further encourage zero-click searches and deprive Yelp and other competitors of traffic in an
14   entirely new way. Id. ¶ 138. Google makes a throwaway argument that more recent actions “cannot
15   alone plausibly serve as the continuance of a violation dating to 2007.” MTD at 14. Tellingly, Google
16   cites no authority for that proposition, and Yelp is aware of none. Even if that were the standard, Yelp
17   has cited numerous overt acts from 2007 through 2024 to satisfy its burden on timeliness, a far cry
18   from Google’s strained portrayal of a violation in 2007 coupled only with a single act in the last four
19   years.
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       Google’s argument is also belied by its own spokesperson, who publicly stated that all of Yelp’s
26   claims here were addressed in the DOJ case. See Lauren Feiner, Yelp sues Google for antitrust
     violations, The Verge (Aug. 28, 2024), https://www.theverge.com/2024/8/28/24230905/yelp-google-
27   antitrust-lawsuit.
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 1          With the benefit of government tolling, the Court could also look to Google’s 2016-2017

 2   Possum update, which fundamentally changed local search by increasing the triggering of Google’s

 3   OneBox results from 25% of the time to 93% of the time (AC ¶¶ 132–33). And the same is true of

 4   Google’s scraping behavior in 2017 (id. ¶¶ 134–35) or its local search-focused Bedlam update in 2019

 5   (id. ¶ 136), when combined with government tolling. In short, under any combination of allegations,

 6   Yelp has plausibly alleged the timeliness of its tying claim.

 7               4.     For the Same Reasons, Yelp’s Request for Equitable Relief Based on Tying Is
                        Timely.
 8
            As the Court previously noted, “the four-year statute of limitations in 15 U.S.C. § 15b
 9
     ‘furnishes a guideline for the computation of the laches period,’ and courts apply the same legal rules
10
     to claims for equitable relief[.]” Order at 10–11 (quoting SaurikIT, LLC v. Apple Inc., 2022 WL
11
     1768845, at *4 (N.D. Cal. May 26, 2022)). Because Yelp’s tying claims are timely, the Court should
12
     deny the application of laches to Yelp’s equitable claims.
13
            B.      Yelp Has Plausibly Alleged that Users Are Coerced into Accepting Google’s Local
14                  Search Services.
15               1.    Users Are Forced to Consume Google’s Local Search Services on the SERP,
                       Without Clicking on Any Link.
16

17          The Court previously determined that Yelp had not yet pleaded coercion for its tying claim

18   because, through Google’s terms and the way it populates its search page, users “see options for local

19   search results” but are not required to “accept the local search results[.]” Order at 27. Yelp’s Amended

20   Complaint clarifies that users must “accept” and “consume Google’s own local search content and

21   results in the form of the information automatically displayed on the SERP”—without needing to click

22   through to a Google local platform such as Google Maps or on any other link. AC ¶ 156.

23          The local OneBox that Google automatically serves on the SERP “is Google’s local search

24   content, akin to the initial results from a user search of Google Maps or Yelp for [the same query].”

25   Id. (emphasis added). The local OneBox provides “Google’s determination of the top, most relevant

26   local search results in their entirety[,]” and, for each business, information such as “review metrics,

27   review count, contact information, description, contact information, location, and hours of

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 1   operation”—all without the user ever leaving the SERP. See id. ¶ 156, Figs. 7, 9. This substantial local

 2   content is foisted on users in unavoidable placement at the top of the page (which has become more

 3   prominent over time), whether they want it or not, and before they might scroll down to actual search

 4   result links. “Thus, users of Google’s general search are forced to accept, consume, and actually use

 5   (i.e., digest the information provided by) Google’s local search content.” Id. ¶ 156. To be sure, users

 6   “may also take the additional step of clicking” out of the SERP to Google’s local SVP, Google Maps,

 7   “but even without doing so, they have already consumed Google’s local search content by design.” Id.

 8   ¶ 157. So, contrary to Google’s characterization, the OneBox is not a usual search result link to a

 9   website that users must click on before they can receive content from that site. C.f. MTD at 8

10   (describing the OneBox as “the mere display of search results on the SERP”). Google skips that user

11   choice entirely for its own local services and automatically serves up its local content before users

12   click on any link.

13          Yelp’s Amended Complaint also makes clear that users meaningfully “use” Google’s local

14   content without the need to click. “[A]fter seeing Google’s three suggested local businesses in a

15   OneBox at the top of the SERP . . . users frequently identify a local business to contact or patronize

16   and end their search, without clicking on anything or scrolling down to Google’s organic search

17   results.” AC ¶ 43. It is not just plausible that users “actually use” SERP content without clicking on a

18   link, it is a growing trend—“Google’s increased use of features like OneBox . . . has resulted in an

19   increasing volume of searches, including those with local search intent, where users do not leave

20   Google’s SERP at all, called zero-click searches.” Id. If anything, Google’s contention here—that there

21   can be no “use” of SERP content without clicking—is implausible given Google’s own efforts to

22   “furnish[] its own content [on the SERP] . . . without sending a click anywhere, not even to its own

23   platforms[.]” Id. (emphasis removed). This includes Google’s increasing use of the OneBox, as well

24   as Google’s launch of AI Overviews, in which “AI-generated summaries now appear at the top” of the

25   page to answer many local queries, again without the user needing to click. Id. ¶ 138. If this content

26   was wholly unusable, Google would not prioritize it at the top of its SERP.

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 1          Rather than grapple with any of Yelp’s new allegations on the actual use of Google’s local

 2   content as it appears on the SERP, Google ignores them entirely, claiming that Yelp “offers no basis”

 3   to allege use of Google’s local content “where the user does not click on any result at all.” MTD at 8

 4   (emphasis in original); id. (relying on the Court’s opinion—based only on Yelp’s original complaint

 5   without consideration of Yelp’s amended allegations on this subject—purportedly taking “clicks as a

 6   proxy for [use]”). This ignores the detailed allegations concerning the design and use of Google’s local

 7   OneBox content, zero-click searches, importance of placement on the SERP, and how keeping users

 8   from clicking anywhere at all helps Google eliminate competition. All of Google’s arguments on

 9   coercion fail because they hinge on Google’s assumption—directly contrary to Yelp’s plausible

10   allegations—that there can be no “use” of Google’s local content without clicking.

11              2.      Users Are Expressly and Impliedly Coerced to Take Google’s Local Content.

12          Google’s general search services users are expressly and impliedly coerced to take Google’s

13   local search services. Under Google’s Terms of Service, “users are prohibited from modifying ‘any

14   part of [Google’s] services or software’” and have no choice but to take the OneBox automatically

15   served on the SERP. AC ¶¶ 155–56. Through these terms, Google expressly refuses to provide the

16   tying product (Google general search services) without the tied product (Google’s local search

17   services), which “obviously constitutes coercion[.]” Order at 26–27 (quoting Dream Big Media Inc. v.

18   Alphabet Inc., 2022 WL 16579322, at *4 (N.D. Cal. Nov. 1, 2022)). In arguing that the terms do not

19   require users to accept Google’s local content, Google ignores Yelp’s allegations that users have

20   already taken local content when it is served on the SERP (as discussed infra at 11–12), and are

21   prohibited from using Google Search without that tie-in. See MTD at 5–6.

22          Google’s conduct also constitutes implied coercion. As the Court explained, implied coercion

23   requires allegations that “an appreciable number of users have accepted Google’s local search

24   results[,]” and “the percentage of sales that remained open to competitors and were not dominated by

25   the alleged monopolist [is low,]” such as 14%. Order at 28 (citing Cascade Health Sols. v.

26   PeaceHealth, 515 F.3d 883, 914 (9th Cir. 2008). Here, all Google general search users must accept

27   Google’s local search results whenever Google detects local intent and invariably serves up the local

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 1   OneBox. These searches are dominated by Google, as Google’s local OneBox always comes first on

 2   Google’s SERP and users must take Google’s content before they can scroll down to links to competing

 3   local search providers. Google’s tie is so inescapable that even when the user expressly requests a

 4   competitor’s content by entering the query “plumbers san francisco yelp,” Google still serves its local

 5   OneBox first on the SERP, before the link to Yelp. AC ¶ 164, Fig. 10. Google’s capture of all searches

 6   for which it recognizes local intent, by virtue of triggering its own search results at the top of the SERP,

 7   is enough to plead implied coercion on its own.

 8             Moreover, after users have already taken Google’s local content, very little business for

 9   additional local results remains open to competitors, as users increasingly do not click out of the SERP

10   at all. Infra at 4–5. Here, Google merely argues that 29% is too high a percentage for implied coercion,

11   MTD at 6–8, failing to recognize that number is for all Google searches, not just local searches, and

12   ignoring Yelp’s plausible allegations that “substantially less than 29% of local search queries on

13   Google remain ‘open’ to Google’s competitors[.]” AC ¶¶ 42–43, 176, 231.

14             Yelp plausibly pleads coercion by alleging Google’s refusal under its terms to offer its general

15   search services without the tie-in of its local search services; Google’s actual practice of dominating

16   all local searches with its local content before users can even see links to any of Google’s competitors;

17   and the small window of clicks that remains for competitors after users have already consumed

18   Google’s local content. Together, these allegations warrant denial of Google’s motion.

19    V.       CONCLUSION

20             For the foregoing reasons, Yelp has plausibly stated a timely claim for unlawful tying, in
21   violation of Section 2 of the Sherman Act, and Google’s renewed partial motion to dismiss should be
22   denied.
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